                            Case 8-10-70336-reg                       Doc 1        Filed 01/20/10              Entered 01/20/10 13:13:53
B 1 (Official Form 1) (1/08)
                                         United States Bankruptcy Court
                                    Eastern District of New York                                                                          Voluntary Petition

 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
  Hakimian Payvand
 All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN               Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
 (if more than one, state all):                                                                 (if more than one, state all):

 Street Address of Debtor (No. and Street, City, and State):                                    Street Address of Joint Debtor (No. and Street, City, and State):

 11 Gilbert Road East, Great Neck, NY
                                                                      ZIP CODE 11024                                                                         ZIP CODE
 County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
  Nassau
 Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                    ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                          ZIP CODE
                      Type of Debtor                                      Nature of Business                               Chapter of Bankruptcy Code Under Which
                  (Form of Organization)                      (Check one box.)                                                the Petition is Filed (Check one box.)
                     (Check one box.)
                                                                   Health Care Business                                 Chapter 7               Chapter 15 Petition for
        Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in               Chapter 9               Recognition of a Foreign
        See Exhibit D on page 2 of this form.                      11 U.S.C. § 101(51B)                                 Chapter 11              Main Proceeding
        Corporation (includes LLC and LLP)                         Railroad                                             Chapter 12              Chapter 15 Petition for
        Partnership                                                Stockbroker                                          Chapter 13              Recognition of a Foreign
        Other (If debtor is not one of the above entities,         Commodity Broker                                                             Nonmain Proceeding
        check this box and state type of entity below.)            Clearing Bank
                                                                   Other                                                                 Nature of Debts
                                                              ___________________________________                                        (Check one box.)
 __________________________________________                              Tax-Exempt Entity
                                                                      (Check box, if applicable.)                     Debts are primarily consumer          Debts are primarily
                                                                                                                      debts, defined in 11 U.S.C.           business debts.
                                                                      Debtor is a tax-exempt organization             § 101(8) as “incurred by an
                                                                      under Title 26 of the United States             individual primarily for a
                                                                      Code (the Internal Revenue Code).               personal, family, or house-
                                                                                                                      hold purpose.”
                                 Filing Fee (Check one box.)                                                                     Chapter 11 Debtors
                                                                                                Check one box:
        Full Filing Fee attached.                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).

        Filing Fee to be paid in installments (applicable to individuals only). Must attach           Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        signed application for the court’s consideration certifying that the debtor is
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.           Check if:
                                                                                                    Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                insiders or affiliates) are less than $2,190,000.
        attach signed application for the court’s consideration. See Official Form 3B.          -----------------------------------
                                                                                                Check all applicable boxes:
                                                                                                    A plan is being filed with this petition.
                                                                                                    Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                    of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                         THIS SPACE IS FOR
                                                                                                                                                                COURT USE ONLY
           Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49          50-99           100-199        200-999        1,000-          5,001-         10,001-         25,001-           50,001-          Over
                                                             5,000           10,000         25,000          50,000            100,000          100,000

 Estimated Assets

 $0 to         $50,001 to      $100,001 to    $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000        $500,000       to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
 Estimated Liabilities

 $0 to         $50,001 to      $100,001 to    $500,001       $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000        $500,000       to $1          to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                              million        million         million        million         million
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B 1 (Official Form 1) (1/08)                                                                                                                                             Page 2
 Voluntary Petition                                                                 Name of Debtor(s):
 (This page must be completed and filed in every case.)                             Payvand Hakimian
                                  All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed: None                                                                  None                                             None
 Location                                                                           Case Number:                                     Date Filed:
 Where Filed:
                    Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                    Case Number:                                     Date Filed:
                   None
 District:                                                                                     Relationship:                                    Judge:
                Eastern District of New York
                                        Exhibit A                                                                                Exhibit B
                                                                                                                 (To be completed if debtor is an individual
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                            whose debts are primarily consumer debts.)
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)            I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                               have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                               12, or 13 of title 11, United States Code, and have explained the relief
                                                                                               available under each such chapter. I further certify that I have delivered to the
                                                                                               debtor the notice required by 11 U.S.C. § 342(b).

        Exhibit A is attached and made a part of this petition.                                X
                                                                                                   Signature of Attorney for Debtor(s)       (Date)

                                                                                   Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

        No.



                                                                                  Exhibit D

 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

             Exhibit D completed and signed by the debtor is attached and made a part of this petition.

 If this is a joint petition:

             Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                  Information Regarding the Debtor - Venue
                                                                           (Check any applicable box.)
                     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                     preceding the date of this petition or for a longer part of such 180 days than in any other District.

                     There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                     has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                     this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                       (Check all applicable boxes.)

                       Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                               (Name of landlord that obtained judgment)



                                                                                               (Address of landlord)

                       Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                       entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                       Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the
                       filing of the petition.

                       Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B 1 (Official Form) 1 (1/08)                                                                                                                                       Page 3
Voluntary Petition                                                                          Name of Debtor(s):
(This page must be completed and filed in every case.)                                      Payvand Hakimian
                                                                                    Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
[If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
chapter, and choose to proceed under chapter 7.
                                                                                                 I request relief in accordance with chapter 15 of title 11, United States Code.
[If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

X                                                                                           X
     Signature of Debtor                                                                         (Signature of Foreign Representative)

X
     Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

     Telephone Number (if not represented by attorney)
       1/20/2010                                                                                 Date
     Date
                                 Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

X                                                                                           I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
     Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
       James O. Guy Esquire (JG-2845)                                                       provided the debtor with a copy of this document and the notices and information
     Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
       James O. Guy Esquire                                                                 guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
     Firm Name 49
                Spice Mill Boulevard                                                        fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                            notice of the maximum amount before preparing any document for filing for a debtor
     Address                                                                                or accepting any fee from the debtor, as required in that section. Official Form 19 is
                 Clifton Park, New York 12065                                               attached.

       518.320.7136
     Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
       1/20/2010
     Date                                                                                        Social-Security number (If the bankruptcy petition preparer is not an individual,
                                                                                                 state the Social-Security number of the officer, principal, responsible person or
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                    partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
certification that the attorney has no knowledge after an inquiry that the information
in the schedules is incorrect.
                                                                                                 Address
                  Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is true   X
and correct, and that I have been authorized to file this petition on behalf of the
debtor.
                                                                                                 Date
The debtor requests the relief in accordance with the chapter of title 11, United States
Code, specified in this petition.                                                           Signature of bankruptcy petition preparer or officer, principal, responsible person, or
                                                                                            partner whose Social-Security number is provided above.
X
     Signature of Authorized Individual                                                     Names and Social-Security numbers of all other individuals who prepared or assisted
                                                                                            in preparing this document unless the bankruptcy petition preparer is not an
     Printed Name of Authorized Individual
                                                                                            individual.
     Title of Authorized Individual
                                                                                            If more than one person prepared this document, attach additional sheets conforming
     Date                                                                                   to the appropriate official form for each person.

                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                            the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                            both. 11 U.S.C. § 110; 18 U.S.C. § 156.




               Reset                                                                                                 Save As...                             Print
